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March 25, 2019                                                                99 GARNSEY R OAD
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VIA CM/ECF                                                                    DIRECT:    (585) 419-8629
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Honorable Elizabeth A. Wolford
United States District Court Judge
Kenneth B. Keating Federal Building
100 State Street
Rochester, New York 14614

       Re:    Fresh Air for the Eastside, Inc., et al v Waste Management of New York LLC
              Civil Action No. 6:18-cv-06588

Dear Judge Wolford:

       I am one of the attorneys for one of the defendants, the City of New York (“NYC”) in the
referenced matter. I write to request the Court’s permission to revise the briefing schedule for
the submission of papers associated with NYC’s pending motion to dismiss.

        FAFE filed and served its opposition papers as scheduled Friday afternoon March 22.
Currently, defendants’ reply papers are due to be filed and served this Friday March 29, 2019.
Due to additional issues raised in FAFE’s opposition papers, including FAFE’s submission of
significant portions of a WMNY/NYC contract for consideration and submission of DEC’s
recent response to the FAFE petition concerning this matter, I requested that plaintiffs’ counsel
consent to NYC having an extension until April 10, 2019 to file and serve its reply papers. I
spoke earlier today to Dwight Kanyuck, one of plaintiffs’ lawyers, who stated FAFE did not
oppose this proposed extension and revision to the scheduling order.

         We submit this letter to request the Court grant this proposed extension and revision to
the briefing schedule, and we have provided a so-ordered signature on the second page of this
letter for the Court to effect such revision should the Court be inclined to grant this request.

                                                    Respectfully submitted,



                                                    Joseph D. Picciotti

JDP:cms
cc:   Linda R. Shaw, Esq. (via CM/ECF)
      Dwight Kanyuck, Esq. (via CM/ECF)
      Kelly Foss, Esq. (via CM/ECF)
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SO ORDERED

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Honorable Elizabeth A. Wolford
United States District Court Judge
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